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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.: 0:20-cv-61054

  ILEANA DIAZ and
  ALEXANDER GOMEZ,

         Plaintiffs,

  v.

  MARINER FINANCE, LLC,

        Defendant.
  _______________________________________/

                            COMPLAINT AND DEMAND FOR JURY TRIAL
                                 INJUNCTIVE RELIEF SOUGHT

         Plaintiff ILEANA DIAZ (“Plaintiff Diaz”) and ALEXANDER GOMEZ (“Plaintiff Gomez”),

  (collectively “Plaintiffs”) sue Defendant MARINER FINANCE, LLC (“Defendant”) for violations of

  47 U.S.C. § 227 et seq., the Telephone Consumer Protection Act (“TCPA”), 15 U.S.C. § 1692 et seq.,

  the Fair Debt Collection Practices Act (“FDCPA”) and Fla. Stat. § 559.55 et seq., the Florida Consumer

  Collection Practices Act (“FCCPA”).

                                           JURISDICTION AND VENUE

         1.      Jurisdiction and venue for purposes of this action are appropriate and conferred by 28

  U.S.C. § 1331, as this action involves violations of the TCPA and FDCPA.

         2.      Venue in this District is proper because Plaintiffs resides here, Defendant transacts

  business here, and the complained conduct of Defendant occurred here.

                                                           PARTIES

         3.      Plaintiff Diaz is a natural person and is a resident of Broward County, Florida.

         4.      Plaintiff Gomez is a natural person and is a resident of Broward County, Florida.

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          5.      Defendant is a Maryland corporation, with a principal address of Nottingham, MD.

          6.      Defendant directs, markets, and conducts substantial business activities in Florida.

                                                              FACTS

          7.      Plaintiff Diaz is the sole subscriber of the cellular telephone number ending in 8342,

  (“Plaintiff Diaz’s Cellphone”).

          8.      Plaintiff Gomez is the sole subscriber of the cellular telephone number ending in 1210,

  (“Plaintiff Gomez’s Cellphone”).

          9.      Defendant is a business entity engaged in the business of soliciting consumer debts for

  collection.

          10.     Defendant is a business entity engaged in the business of collecting consumer debts.

          11.     Defendant regularly collects or attempts to collect, directly or indirectly, debts owed or

  due or asserted to be owed or due another.

          12.     On a date better known by Defendant, Defendant began attempting to collect a debt

  from Plaintiffs. The debt Defendant sought to collect from Plaintiffs (the “Consumer Debt”) arose from

  a transaction that was primarily for personal, family, or household purposes.

          13.     Plaintiff Gomez is the alleged debtor of the Consumer Debt.

          14.     On a date better known by Defendant, Defendant began calling Plaintiff Diaz’s

  Cellphone and Plaintiff Gomez’s Cellphone (collectively, “Plaintiffs’ Phones”) in an attempt to collect

  the Consumer Debt.

          15.     Defendant’s calls to Plaintiffs originated from, including but not limited to, the

  telephone phone number 863-709-1403.

          16.     Defendant utilized a combination of hardware and software systems to place calls to

  Plaintiffs’ Cellphones. These systems utilized by Defendant have the current capacity or present ability

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  to store telephone numbers and dial stored numbers automatically, to generate or store random or

  sequential numbers or to dial sequentially or randomly at the time the call is made, and to dial such

  numbers, en masse, in an automated fashion without human intervention.

          17.      The combination of hardware and software systems used by Defendant to place calls to

  Plaintiffs’ Cellphones meet the statutory definition of an automated telephone dialing system (“ATDS”)

  under the TCPA.

          18.      Sometime during November-2019, Plaintiff Diaz received a call from Defendant (the

  “November-2019 Call”). During said call, told Plaintiff Diaz told Defendant that Plaintiff Diaz was not

  the debtor of the Consumer Debt and explicitly demanded that Defendant stop calling between 9:00

  AM and 5:00 PM because Plaintiff Diaz was at work during those hours and the calls were inconvenient.

          19.      In the course of the November-2019 Call, Plaintiff Diaz was connected to another agent

  of Defendant, but this time a purported supervisor, at which point Plaintiff Diaz, having reached new

  heights of embarrassment, innocence, and frustration, demanded that Defendant stop calling Plaintiffs

  altogether. Despite these pleas for the calls to stop, Defendant continued – and to this day still continues

  – calling Plaintiffs.

          20.      Defendant has called Plaintiff Gomez as many as ten (10) times in a single day in an

  attempt to collect the Consumer Debt.

          21.      Defendant Gomez continues to receive as many as three (3) calls a day from Defendant.

          22.      Defendant has called Plaintiff Diaz, at minimum, fourteen (14) times since the

  November-2019 Call in an attempt to collect the Consumer Debt.

          23.      On or about April 20, 2020, after once again being called by Defendant, Plaintiff Diaz

  threatened to hire an attorney in order to stop Defendant from calling Plaintiffs. Defendant responded

  by stopping until May 13, 2020, at which point Defendant resumed its harassing and wrongful calling

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  campaign.

          24.     Below is a small example of the frequency at which Plaintiff Diaz received phone calls

  from Defendant:




          25.     After the November-2019 Call, at minimum: [1] Defendant knew or should have known

  that Plaintiff Diaz was not the Debtor; [2] Defendant knew or should have known that Plaintiff Diaz

  explicitly did not want to be called between 9 AM and 5 PM because Plaintiff Diaz was at work and

  such calls were inconvenient; and [3] Defendant knew that Plaintiff Diaz ultimately demanded that

  Defendant stop calling Plaintiffs altogether. Despite knowing all this, however, Defendants calls to

  Plaintiffs continued.

          26.     At no point in time did the Plaintiffs provide Defendant with Plaintiffs’ express consent

  to be called, written or otherwise.

          27.     Defendant’s calls to Plaintiffs’ Phones was not for emergency purposes.

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                                                    COUNT I
                                           VIOLATIONS OF 47 U.S.C. § 227(b)

          28.        Plaintiffs incorporate by reference paragraphs 1-27 of this Complaint as though fully

  stated herein.

          29.        The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

  an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

  227(b)(1)(A).

          30.        The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

  that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

  sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

          31.        It is a violation of the TCPA to make “any call (other than a call made for emergency

  purposes or made with the prior express consent of the called party) using any automatic telephone

  dialing system … to any telephone number assigned to a … cellular telephone service ….” 47 U.S.C. §

  227(b)(1)(A)(iii).

          32.        In an action under the TCPA, a plaintiff must show only that the defendant “called a

  number assigned to a cellular telephone service using an automatic dialing system or prerecorded

  voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

  F.3d 1265 (11th Cir. 2014).

          33.        The Federal Communications Commission (“FCC”) is empowered to issue rules and

  regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

  are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

  nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

  inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

  they pay in advance or after the minutes are used.
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          34.     A defendant must demonstrate that it (the defendant) obtained the plaintiff’s prior

  express consent. See In the Matter of Rules and Regulations Implementing the Tel. Consumer Prot. Act

  of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent “for non-telemarketing and

  non-advertising calls”). Further, the FCC has issued rulings and clarified that consumers are entitled to

  the same consent-based protections for text messages as they are for calls to wireless numbers. See

  Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (“The FCC has determined that

  a text message falls within the meaning of ‘to make any call’ in 47 U.S.C. § 227(b)(1)(A)”).

          35.     Defendant – or third parties directed by Defendant – used equipment having the capacity

  to store telephone numbers, using a random or sequential generator, and to dial such numbers and/or to

  dial numbers from a list automatically, without human intervention, to make non-emergency telephone

  calls to the cellular telephone of Plaintiffs. These calls were placed without regard to whether Defendant

  had first obtained express permission from the called party to send such text message. In fact, Defendant

  did not have prior express consent to call Plaintiffs’ Cellphones.

          36.     Defendant violated § 227(b)(1)(A)(iii) of the TCPA by using an automatic telephone

  dialing system and/or pre-recorded voice to make non-emergency telephone calls to Plaintiffs’

  Cellphones.

          37.     As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA, Plaintiffs

  were harmed and are entitled to a minimum of $500.00 in damages for each unlawful phone call placed

  to Plaintiffs’ Cellphone by Defendant. Plaintiffs are also entitled to an injunction against future calls.

  To the extent Defendant’s misconduct is determined to be willful and knowing, the Court should,

  pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages recoverable by Plaintiffs.

          38.     WHEREFORE, Plaintiffs, respectfully, request that the Court enter judgment in favor

  of Plaintiffs, and against Defendant that provides the following relief:

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          (a)     Statutory damages of $500 per violation, up to $1,500 per violation if proven willful;

          (b)     A permanent injunction prohibiting Defendant from violating the TCPA in the future
                  through calling Plaintiffs’ Cellphones;

          (c)     A declaration that Defendant used an automatic telephone dialing system and/or pre-
                  recorded voice, as substantiated by evidence, and violated the TCPA in using such to
                  Plaintiffs’ Cellphones; and

          (d)     Any other relief the Court finds just and proper.

                                               COUNT II
                                      VIOLATION OF 15 U.S.C. § 1692c(b)

          39.     Plaintiff Diaz incorporates by reference paragraphs 1-27 of this Complaint as though

  fully stated herein.

          40.     Pursuant to § 1692c of the FDCPA:

                  Except as provided in section 1692b of this title, without the prior
                  consent of the consumer given directly to the debt collector, or the
                  express permission of a court of competent jurisdiction, or as reasonably
                  necessary to effectuate a post judgment judicial remedy, a debt collector
                  may not communicate, in connection with the collection of any debt,
                  with any person other than the consumer, his attorney, a consumer
                  reporting agency if otherwise permitted by law, the creditor, the attorney
                  of the creditor, or the attorney of the debt collector.

  15 U.S.C. § 1692c(b).

          41.     As stated above, during the November 2019 call, Plaintiff Diaz informed Defendant that

  [1] Plaintiff Diaz was not the debtor; [2] that Plaintiff Diaz explicitly did not want to be called between

  9 AM and 5 PM because Plaintiff Diaz was at work and such calls were inconvenient; and [3] to stop

  calling Plaintiffs altogether. Defendant, however, proceeded to call Plaintiffs multiple times after the

  November-2019 Call in an attempt to collect the Consumer Debt.

          42.     Here, Defendant did not have the prior consent of the debtor of the Consumer Debt to

  communicate, in connection with the collection of the Consumer Debt, with Plaintiff Diaz. As such, by
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  and through Defendant’s above complained phone calls, Defendant violated § 1692c(b) of the FDCPA.

          43.     WHEREFORE, Plaintiff Diaz, respectfully, request this Court to enter a judgment

  against Defendant, awarding the following relief:

                  (a) statutory, as provided under 15 U.S.C. §1692k;

                  (b) costs and reasonable attorneys’ fees; and

                  (c) Any other relief that this Court deems appropriate and just under the circumstances.

                                                COUNT III.
                                       VIOLATION OF 15 U.S.C. § 1692b(3)

          44.     Plaintiff Diaz incorporates by reference paragraphs 1-27 of this Complaint as though

  fully stated herein.

          45.     Pursuant to § 1692b of the FDCPA, any debt collector communicating with any

  person other than the consumer for the purpose of acquiring location information about the consumer

  shall “not communicate with any such person more than once unless requested to do so by such person

  or unless the debt collector reasonably believes that the earlier response of such person is erroneous or

  incomplete and that such person now has correct or complete location information.” 15 U.S.C. §

  1692b(3).(emphasis added)

          46.     As stated above, during the November-2019 Call, Plaintiff Diaz informed Defendant

  that [1] Plaintiff Diaz was not the debtor; [2] that Plaintiff Diaz explicitly did not want to be called

  between 9 AM and 5 PM because Plaintiff Diaz was at work and such calls were inconvenient; and [3]

  to stop calling Plaintiffs altogether. Defendant, however, proceeded to call Plaintiffs multiple times after

  the November-2019 Call in an attempt to collect the Consumer Debt.

          47.     Accordingly, Defendant violated § 1692b(3) of the FDCPA by calling Plaintiff Diaz

  more than once in connection with or otherwise in an attempt to collect the Consumer Debt.


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          48.        WHEREFORE, Plaintiff Diaz, respectfully, request this Court to enter a judgment

  against Defendant, awarding the following relief:

                     (a) statutory, as provided under 15 U.S.C. §1692k;

                     (b) costs and reasonable attorneys’ fees; and

                     (c) Any other relief that this Court deems appropriate and just under the circumstances.

                                                    COUNT IV.
                                            VIOLATION OF 15 U.S.C. § 1692d

          49.        Plaintiffs incorporate by reference paragraphs 1-27 of this Complaint as though fully

  stated herein.

          50.        Section 1692d of the FDCPA prohibits debt collectors from engaging in “any conduct

  the natural consequence of which is to harass, oppress, or abuse any person in connection with the

  collection of a debt.” 15 U.S.C. § 1692d.

          51.        Despite being asked to stop calling during the November 2019 Call, and thereafter

  during each and every call Defendant placed to either Plaintiff, Defendant persisted in calling Plaintiffs

  multiple times a week, and often multiple times a day, for an additional six (6) months attempting to

  collect a Consumer Debt. The natural consequence of this conduct is harassing, oppressive, and/or

  abusive – especially after Plaintiff Diaz had explicitly told Defendant to stop calling between 9 AM and

  5 PM because Plaintiff Diaz was at work and such calls were inconvenient.

          52.        The frequency and longevity of Defendant’s calls to Plaintiffs combined with

  Defendant’s disregard for Plaintiffs’ requests that Defendant stop calling, is the type of conduct which

  has the natural consequence of which is to harass, oppress, or abuse any person in connection with the

          53.        Accordingly, Defendant violated § 1692d of the FDCPA because Defendant continued

  to call Plaintiffs despite Plaintiffs repeated demand for Defendant to stop calling.


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          54.     WHEREFORE, Plaintiffs, respectfully, request this Court to enter a judgment against

  Defendant, awarding the following relief:

                  (a) statutory, as provided under 15 U.S.C. §1692k;

                  (b) costs and reasonable attorneys’ fees; and

                  (c) Any other relief that this Court deems appropriate and just under the circumstances.

                                               COUNT V.
                                     VIOLATION OF 15 U.S.C. § 1692c(a)(1)

          55.     Plaintiff Diaz incorporates by reference paragraphs 1-27 of this Complaint as though

  fully stated herein.

          56.     Section 1692c(a) of the FDCPA prohibits debt collectors from communicating with a

  consumer in the collection of any debt in “at any unusual time or place or a time or place known or

  which should be known to be inconvenient to the consumer.” 15 U.S.C. § 1692c(a)(1).

          57.     As stated above, at minimum, subsequent to the November-2019 Call, Defendant knew

  that Plaintiff Diaz did not want to be called between 9 AM and 5 PM because Plaintiff Diaz was at work

  and such calls were inconvenient. Despite knowing Plaintiff Diaz did not want to be called while

  Plaintiff Diaz was at work, Defendant continued to repeatedly call Plaintiff Diaz between 9 AM and 5

  PM while Plaintiff Diaz was at work, and in so doing, caused inconvenience, upset, frustration, and

  embarrassment by Plaintiff Diaz.

          58.     Accordingly, Defendant violated §1692c(a)(1) of the FDCPA because Defendant

  continued to call Plaintiff Diaz despite knowing that such calls would be - and in fact were -

  inconvenient to Plaintiff Diaz.

          59.     WHEREFORE, Plaintiff Diaz, respectfully, request this Court to enter a judgment

  against Defendant, awarding the following relief:

                  (a) statutory, as provided under 15 U.S.C. §1692k;
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                     (b) costs and reasonable attorneys’ fees; and

                     (c) Any other relief that this Court deems appropriate and just under the circumstances.

                                            COUNT VI
                            VIOLATION OF FLA. STAT. § 559.72(7) and §559.72(9)

          60.        Plaintiffs incorporate by reference paragraphs 1-27 of this Complaint as though fully

  stated herein.

          61.        Pursuant to Fla Stat. § 559.72(7) of the FCCPA, in collecting consumer debts, no person

  shall: “Willfully communicate with the debtor or any member of her or his family with such frequency

  as can reasonably be expected to harass the debtor or her or his family, or willfully engage in other

  conduct which can reasonably be expected to abuse or harass the debtor or any member of her or his

  family” Fla Stat. § 559.72(7).

          62.        Pursuant to § 559.72(9) of the FCCPA, in collecting consumer debts, no person shall:

  “[c]laim, attempt, or threaten to enforce a debt when such person knows that the debt is not legitimate,

  or assert the existence of some other legal right when such person knows that the right does not exist.”

  Fla Stat. § 559.72(9) (emphasis added).

          63.        As stated above, during the November-2019 Call, Plaintiff Diaz informed Defendant

  that [1] Plaintiff Diaz was not the debtor; [2] that Plaintiff Diaz explicitly did not want to be called

  between 9 AM and 5 PM because Plaintiff Diaz was at work and such calls were inconvenient; and [3]

  to stop calling Plaintiffs altogether.

          64.        Defendant knew that Plaintiff Diaz was not the debtor, Defendant knew that Plaintiff

  Diaz did not owe the Consumer Debt, and Defendant knew it did not have either of Plaintiffs’ prior

  express consent to call Plaintiffs’ using ATDS and/or pre-recorded voice. Defendant, however,

  proceeded to call Plaintiffs multiple times a week for an additional six (6) months after being asked to

  stop in November 2019.
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          65.      Here, at minimum, Defendant knew that Plaintiff Diaz was not the debtor subsequent

  to the November 2019 Call. Despite knowing that Plaintiff Diaz was not the debtor, Defendant asserted

  that Defendant had a legal right to collect the Consumer Debt from Plaintiff Diaz. Simply put, despite

  knowing that it did not have any entitlement or authority to collect the Consumer Debt from Plaintiff

  Diaz, Defendant continually called Plaintiff Diaz in an attempt to collect the Consumer Debt.

          66.      As such, by attempting to collect the Consumer Debt from Plaintiff Diaz by and through

  Defendant’s relentless phone calls, Defendant violated Fla. Stat. § 559.72(9).

          67.      WHEREFORE, Plaintiff Diaz, respectfully, requests this Court to enter a judgment

  against Defendant-Creditor, awarding Plaintiffs the following relief:

                (a) Statutory and actual damages as provided under Fla. Stat. §559.77(2);

                (b) An injunction prohibiting Defendant from engaging in further collection activities
                    directed at Plaintiffs that are in violation of the FCCPA;

                (c) Costs and reasonable attorneys’ fees pursuant to Fla. Stat. §559.77(2); and

                                                        JURY DEMAND

          68.      Plaintiffs, respectfully, demands a trial by jury on all issues so triable.

                   DATED: May 29, 2020
                                                                     Respectfully Submitted,

                                                                      /s/ Jibrael S. Hindi                                    .
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